

People v Rodriguez (2020 NY Slip Op 07510)





People v Rodriguez


2020 NY Slip Op 07510


Decided on December 15, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 15, 2020

Before: Kapnick, J.P., Mazzarelli, Singh, Kennedy, JJ. 


Ind No. 4325/16 Appeal No. 12649 Case No. 2018-2652 

[*1]The People of The State of New York, Respondent, 
vFrancisco Rodriguez, Defendant-Appellant.


Stephen Chu, Interim Attorney-in-Charge, Office of The Appellate Defender, New York (Emma L. Shreefter of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Diana Wang of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Ellen N. Biben, J.), rendered November 27, 2017,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDEROF T HE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 15, 2020
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








